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                       UN ITED STATES DISTRICT CO URT
                       SO UTH ERN D ISTRICT O F FLO R IDA

                     Case N o.IO-8OIS6-CR-H URLEYJH O PK IN S


 UN ITED STATES O F AM ERICA,

               Plaintiff,
 V.

 JO HNNY THO M AS,

               D efendant
                                        /

  REPO RT AND REC O M M ENDA TIO N ON DEFENDANT'S M O TIO NS TO
                        RETURN PROPERTY (DES718.727)
        THIS CAUSE comesbefort the courtupon ordtrsofreferral(DEs 719,728) ofthe
 defendant'sJanuary 18,2013,motionforreturnofpropertyandFebruary19,2013,amendedm otion

 forreturnofproperty.(DEs718,727).TheGovernmentrespondedtotheinitialmotion(DE 726).
                                            FA C TS

        TheDefendantpetitionsforthereturn of$2,432 and $800 seizures.On November2,2010,

 theDrugEnforcementAdministration(DEA)executedasearchwarrantat5400N,FlaglerDrive,
 W estPalm Beach,and seized crackcocaineand $800 (DE 725-1). OnNovember11,2010,the
 Defendantwasarrested and agentsseized $2,432 from hisperson.1d. Adm inistrative forfeiture

 proceedingswereinitiated asto the $2,432 and return receiptnoticeswere sentto theDefendantat
 FDC M iamiwherehew asincarcerated;his724 20thStreet,W estPalm Beach;and to hisattorney,

 Thom as Garland. 1d. The receipts from FDC and the D efendant's attom ey w ere signed for and
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 returned to DEA.1d.Thereceiptfrom hisresidencewasreturned asbeing iûunableto forward.''Id

 Theseizurewasalso published in thewallStreetJournalonce aweek for3 successive weeks. 1d.

 TheFebruary3,2011,deadlineforfilingclaim stocontesttheforfeiturewasstated inallthenotices

 and publications.1d. No claim swere fled. On M arch 18,2011,DEA entered a Declaration of

 Forfeiture. ld

        Astothe $800,theDEA sentwritten noticeoftheabandonmentprocessto theDefendant

 atFDC M iam iwherethe Defendantwasincarcerated'
                                               ,to theDefendantorcurrentresidentat5400

 N.FlaglerDrive,W estPalm Beach,;and tothedefendant'sattonzey. ld Thenoticessentto FDC

 and the Defendant'sattorneywere signed for;thenoticeto 5400 N . FlaglerDrive wasreturned as

 dtlketurn to Sender,NotDeliverableasAddressed.''1d. The January 14,2011deadline forfiling a

 claim wasstatedineach ofthenotices,Noclaimswerefiled,On February 2, 2011,DEA declared

 the$800 abandoned.ld.

        ln a February23,2011,letterto theCourt,theDefendantcom plainedthathisattorney was

 tryingSstogetmym othertogetthatmoneyfrom DEA officebehindmybackwhenItoldhim months

 ago 1don'tknow aboutany money ...''(DE 315). ln aJanuary 12,2011,letlertohisattomey
 which heattachedtothe2/23/11lettertotheCourt,theDefendantcomplainedthathisattorneywas

 tryingto gethislimotherarrested bytrying to getmeto getherto getthemoney thatwasfound in

 ahousethatthey found drugsand m oney.''Id

        On October 15,2012,the Defendantpled guilty to theone countlnformation (DE 674)
 charging him with possession w ith intent to distribute coeaine base from M arch 10, 2010 until

 November3.2010.(DE 676).ThefadualproffertheDefendantagreed to specitied thatagents
 executed asearchwarrantattheDefendant'sresidenceat5400N .FlaglerDrive,W estPalm Beach,


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 and seizedcrack cocaine,aswellasdnlgparaphenmliaandindiciaofDefendant'sresidencethere.

 (DE 679).
                                          AN A LY SIS

        A Rule41(e)motion isunavailablewhen property isretainedpursuantto civilforfeiture
 instead offoruse asevidence United Statesp Eubanks,169F.
                                              .         3d672,674 (11thCir. 1999).
        Federalcourtsunderlimitedcircumstancesmayexerciseequitablejurisdictionoveragency
 forfeiture decisions. See M atter of k
                                      vxfy Seven Thousand Four Hundred Seventy Dollars
                                          .




 ($67,470.00),901F.2d 1540,1543(1lthCir.lggoltfederalcourtslackjurisdiction to review the
 meritsofaforfeituredecisionmadebytheDEA).Thedecisiontoexerciseequitablejurisdictionis
 highly diseretionary and mustbe exercised with caution and restraint. See 901 F.2d at 1543.

 Jurisdiction isappropriateonly when thepetitioner'sconductandthem eritsofhispetition require

 judicialreview topreventmanifestinjustice.See$67,470.00,901F.2dat1543.
        Herethe record showsthatlawfulnotice tllrough both certified m ailand publication was

 effected.19U.S.C.j 1607.TheDefendantneverdenied receivingnotice.Heneversubmitted a
 claim .Twoyearsafterthe deadlineforfilinga claim theDefendanttqled thism otion forreturn of

 property. Hefailed to explain the reason forthe delay and substantiatethem eritsofhisclaim . lt

 isinappropriateforacourtto exerciseequitablejurisdiction toreview themeritsofaforfeiture
 m atterwhenthepetitionerelectedto foregotheproceduresforpursuing anadequateremedy atlaw .

 See $67,470.00,901F.2d at1545.BecauseDefendanthad theopportunityto disputethebasisfor

 theforfeitureand waitedtwoyearswithno explanation forthedelay, thisCourtcannotexercise its

 equitablejurisdictiontohearhispetitionatsuch alatedate.Eubanks,169F.3dat674.
        Similarly,titleto the$800 vested in theUnited Statesaftertheadm inistrativeabandonment
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 procedures were followed. 41 C.F.R.Section 128-48.102-1(b). He failed to substantiate any

 equitableclaim tothe$800.lndeed,hepled guilty to possessionw ith intentto distributethedrugs
 athisresidencewherethemoneywasseized. M oreover,contemporaneously with noticebeing sent

 hedisavowed any claim to the money seized with the drugs.

                                  RECOM M ENDATIONS

        Forthereasonsstated above,thisCourtRECOM M EN DS thattheDefendant'sm otion for

 returnofproperty(DES718,727)beDENIED.
                             NOTICE OF RIG HT TO OBJECT

       A partyshallserveandfilewritten objections,ifany,to thisReportandRecommendation
 withtheHonorableSeniorUnitedStatesDistrictJudgeDanielT.K . Hurleywithinfourteen(14)days

 afterbeingservedwithacopy.See28U.S.C.j636(b)(1)(C).Failuretofiletimelyobjectionsmay
 lim itthescopeofappellatereview offactualfindingscontainedherein.See Unitedstatesv Warren,
                                                                                   .




 687F.2d347,348(11th Cir.1982),cerf.denied,460U.S.1087(1983).
       DONE AND SUBM ITTED in Cham bersthis 19 day ofApril,2013,atW estPalm Beach

 intheSouthern DistrictofFlorida.


                                                   V 'v > * K

                                           JAM ES M .HOPKINS
                                           UNITED STATES M AGISTRATE JUDGE


 copies to:
 Senior United StatesD istrictJudge DanielT.K .Hurley
 counselofrecord
 Johnny Thom as,pro se,96023-004,M iam iFD C,P,O .Box 019120,M iam i,FL 33101


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